            Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 1 of 37




                          UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS

MICHELE BACUS, INDIVIDUALLY AND
ON BEHALF OF ALL OTHERS
SIMILARLY SITUATED,
                        Plaintiff,
                                                       Case No.
        v.                                             Assigned to Hon.

23ANDME, INC.

                        Defendant.


                           DECLARATION OF KEVIN J. QUILTY

       I, Kevin J. Quilty, declare:

       1.       I am over 21 years old, a resident of Chicago, Illinois, admitted to the Illinois Bar

and the General Bar of the United States District Court, Northern District of Illinois (Bar No.

6332108)

       2.       My firm is counsel for Defendant 23andMe, Inc.

       3.       I make this declaration in support of 23andMe, Inc.’s contemporaneously filed

Notice of Removal of Civil Action.

       4.       Attached hereto and incorporated herein by this reference as Exhibit 1 is a true

and correct copy of the pleadings of which I am aware in the Circuit Court of Cook County,

Illinois, Case No. 2023 L 011549.

       I declare under the penalty of perjury under the laws of the United States of America that

the foregoing is true and correct.

       Executed this 15th day of December 2023 at Chicago, Illinois

                                                                      By: /s/ Kevin J. Quilty
                                                                              Kevin J. Quilty
Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 2 of 37




             EXHIBIT 1
     (Pleadings from the State Court Action)
                        Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 3 of 37
Law Division Motion SecTbi~IF~tft9Ad~i®~110.kRNa~y~t#t~lif~isr~pl[~M®~~®pb~~~I~I~,~~~~e~lilip~NdllldUiSF~D3tskG.
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      names of all people you
      are suing.                                                                                   Case Number

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~     Clerk.
w                                Summons issued for this Defendant.)
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                                          IMPORTANT® You have been sued.
      •   Read all documents attached to this Summons.
      •   You MUST file an official document with the court within the time stated on this Summons called an Appearance
          and a document called an AiisweY/Resposzse. If you do not file an Appearance and Answer/Response on time, the
          judge may decide the case without hearing from you. This is called "default." As a result, you could lose the case.
      •   All documents referred to in this Summons can be found at ilcourts.info/forms. Otlier docuinents may be available
          from your local Circuit Court Clerk's office or website.
      •   After you fill out the necessary documeiits, you need to electronically file (e-file) thein with the court. To e-file, you
          must create an account with an e-filing service provider. For more information, go to ilcourts.info/efiling. If you
          cannot e-file, you can get an exemption that allows you to file in-person or by mail.
      •   You may be charged filing fees, but if you cannot pay them, you can file an Application for Waiver of Court Fees.
      •   It is possible that the court will allow you to attend the first court date in this case in-person or remotely by video or
          phoiie. Coiitact the Circuit Court Clerk's office or visit the Court's website to find out wliether this is possible and, if
          so, how to do this.
      •   Need help? Call or text Illinois Court Help at 833-411-1121 or go to ilcourthelp.gov for infoi-mation about going to
          court, including how to fill out and file documents. You can also get free legal information and legal referrals at
          illinoisle galaid.org. All documents referred to in this Summons can be found at ilcourts.info/forms. Otlier documents
          may be available from your local Circuit Court Clerk's office or website.
      •   ZNecesita ayuda? Llame o envie un mensaje de texto a Illinois Court Help al 833-411-1121, o visite ilcourthelp.gov
          para obtener informacion sobre los casos de la corte y como completar y presentar formularios.

                                                              Plaintiff/Petition er:
       Do not use this form in these types of cases:
          •   All criminal cases              • Order of protection                         •    Adult guardianship
          •   Eviction                        • Paternity                                   •    Detinue
          •   Sinall Claims                   • Stalking no contact orders                  •    Foreclosure
          •   Divorce                         • Civil no contact orders                     •    Administrative review cases

      For eviction, small claiins, divorce, aiid orders of protection, use the fonns available at ilcourts.info/forms. If your case
      is a detinue, visit illinoislegalaid.org for help.
      If you are suing more than I Defendant/Respondent, attach an Additional Defendant/Responde»t Address and Service
      b7formation form for each additional Defendant/Respondent.

      SU-S 1503.4                                                     Page 1 of 5                                                (05/23)
                        Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 4 of 37
                                                                Enter the Case Number given by the Circuit C


     In la, enter the name          1.    Defendant/Respondent's address and service information:
     and address of the first             a. Defendant/Respondent's primary address/information for service:
     Defendant/ Respondent
     you are serving. If you                     Name (First, Middle, Last): 23AndMe, Inc.
     are serving a                               Registered Agent's name, if any: Corporation Service Company
     Registered Agent,
rn   include the Registered
                                                 Street Address, Unit #: 251 Little Falls Drive
a
~    Agent's name arid                           City, State, ZIP: Wilmington, DE 19808                                 "
0    address here.                               Telephone: (302) 636-5401           Email:
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~                                                list that here:
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cD   Respondent, if you                          Name (First, Middle, Last):
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Q    Defendant/                                  ❑    Sheriff               ❑    Sheriff outside Illinois:
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J                                                ❑✓   Special process server                 ❑    Licensed private detective
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     Clieck here if you are        ❑      I am serving more than 1 Defendant/Respondent.
     serving niore than 1
     Defendant/                           I have attached                              Additional Defendant/Respondent Address
                                                                  Number
     Respondent. Attach an
     Additional Defendmit/                and Service Information forms.
     Respondent Address
     and Sei•vice
     Ir:foa•matioi: forni for      2.     Information about the lawsuit:
     each additional                      a. Amount claimed: $ > $50,000
     Defendant/Respondent
     and write the number          ❑      b.    I am asking for the return of tangible personal property (items in the
     of fomis you attached.                     Defendant/Respondent's possession).
     In 2a, enter the
     amount of money
     owed to you. Check            3.     Contact information for the Plaintiff/Petitioner:
     2b if you are asking                 Name (First, Middie, Last):Andrea R. Gold - Counsel for Plaintiff Michele Bacus
     for the return of
                                          Street Address, Unit #: 2000 Pennsylvania Ave NW, Suite 1010
     tangible personal
                                          City, State, ZIP: Washington, DC 20006
     In 3, enter your                     Telephone: (202) 973-0900             Email:              agold@tzlegal.com
     complete address,
     telephone number, and
     email address, if you      GETTING COURT DOCUMENTS BY EMAIL: You should use an email account that you do not share with anyone
     have one.                  else and that you check every day. If you do not check your email every day, you inay iniss important information,
                                notice of court dates, or documents from other parties.

          Important             You have been sued. Read all of the documents attached to this Suntmons.
     information for the        To participate in the case, you must follow the instructions listed below. If you do not, the court may decide
      person getting this       the case without hearing from you and you could lose the case. Appem-ance and Answet/Response fonns can
            form                be found at: ilcourts.info/forins.

     Check 4a or 4b. If            4.    Instructions for person receiving this Summons (Defendant):
     Defendant/Respondent
                                   ❑✓    a.    To respond to this Summons, you must file Appearance and Answer/Response
     only needs to file an
     Appearance and                            forms with the court within 30 days after you have been served (not counting the day
     Answer/Response                           of service) by e-filing or at:
     within 30 days, check
     box 4a. Otherwise, if                     Address:     50 West Washin4ton Street
     the clerk gives you a                     City, State, ZIP: Chicago, IL 60602
     court date, check box
     4b.



     SU-S 1503.4                                                         Page 2 of 5                                                         (05/23)
                   Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 5 of 37


In 4a, fill out the         ❑    b.    Attend court:
address of the court                   On:                                 at                       ❑ a.m. ❑ p.m. in
building where the                                                                                                          Courtroom
                                               Date
Defendant may file or
e-file their                           In-person at:
Appeararice and
Alrswel /Response.                     Courthouse Address                  City                                 State            Z/P
 In 4b, fill out:                      OR
• The court date and
  time the clerk gave                  Remotely (You may be able to attend this court date by phone or video conference.
 you.                                  This is called a"Remote Appearance"):
• The courtroom and
                                             By telephone:
  address of the court
                                                                   Call-in number for telephone remote appearance
  building.
• The call-in or video                       By video conference:
  infonnation for                                                          Video conference website
  remote appearances
  (if applicable).                           Video conference log-in information (meeting ID, password, etc.)
• The clerk's phone
  number and website.
 All of this infonnation               Call the Circuit Clerk at:                                               or visit their website
 is available from the                                                 Circuit C/erk's phone number
Circuit Clerk.                         at:                                                        to find out more about how to do this.
                                              Website




                                                      11/13/2023            IRIS Y. MARTINEZ
         STOP!              Witness this Date:                ~Q                                                               Seal of Court
The Circuit Clerk will                                       : (
fill in this section.       Clerk of the Court:              ~I


                                 STOP! The officer or                             fill in the Date of Service
Note to officer or process server:                                 ~
     •    If 4a is checked, this Stimmoizs must be served within 30 days of the witness date.
     •    If 4b is checked, this Summoiis tnust be served at least 40 days before the court date, unless 2b is also checked.
               o If 4b and 2b are checked, the Summons must be served at least 3 days before the court date.

                            Date of Service:
                                                  (Date to be entered by an officer or process server on the copy of this
                                                  Summons left with the Defendant or other person.)




SU-S 1503.4                                                        Page 3 of 5                                                           (05/23)
                   Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 6 of 37
                                                                 Enter the Case Number given by the Circuit Clerk:
                   This form is approved by the Illinois Supreme Court and must be accepted in all Illinois Courts.
                                                Forms are free at ilcourts.info/forms.
                                                                                                                 For Court Use Only
          STATE OF ILLINOIS,
           CIRCUIT COURT                                    PROOF OF SERVICE OF
                                                               SUMMONS AND
   Cook                   Q      COUNTY                      COMPLAINT/PETITION

     Instructions
 Enter above the
 county name where               Mlchele Bacus
 the case was filed.              Plaintiff / Petitioner (First, middle, last name)
 Enter your name as
 Plaintiff/Petitioner.
 Enter the names of all           V.
 people you are suing
 asDefendants/                   23AndMe, Ine.
 Respondents.
                                  Defendant / Respondent (First, middle, last name)
 Enter the Case
 Number given by the              ❑ Alias Summons (Check this box if this is not the 1st                         Case Number
 Circuit Clerk.                   Summons issued for this Defendant.)

 **Stop. Do not complete the form. The sheriff or special process server will fill in the form. Give them one copy
                     of this blank Proof of Service form for each Defendant/Respondent.**

     My name is                                                                                and I state
                          First, Middle, Last
     ❑ I served the Summons and Complaint/Petition on the Defendant/Respondent
                                                                                                             as follows:
     First, Middle, Last


            U Personally on the Defendant/Respondent:
                  ❑       Male         ❑   Female       ❑    Non-Binary                 Approx. Age:          Race:
                  On this date:                                     at this time:                   ❑ a.m. ❑ p.m.
                  Address, Unit#:
                  City, State, ZIP:

            ❑     On someone else at the Defendant/Respondent's home who is at least 13 years old and is a family
                  member or lives there:
                  On this date:                     at this time:              ❑ a.m. ❑ p.m.
                  Address, Unit#:
                  Citv. State. ZIP:
                  And left it with:
                                           First, Middle, Last
                  ❑   Male    ❑ Female         ❑ Non-Binary            Approx. Age:              Race:
                  and by sending a copy to this defendant in a postage-paid, sealed envelope to the
                  above address on this date:

            ❑     On the Corporation's agent,
                                                         First, Middle, Last
                  ❑ Male        ❑ Female                ❑     Non-Binary                Approx. Age:         Race:
                  On this date:                                 at this time:                      ❑ a.m. ❑ p.m.
                  Address:
                  City, State, ZIP:


SU-S 1503.4                                                               Page 4 of 5                                                 (05/23)
                        Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 7 of 37


          ❑ I was not able to serve the Summons and Complaint/Petition on Defendant/Respondent:

          First, Middle, Last

          I made the following attempts to serve the Summons and Complaint/Petition on the Defendant/Respondent:
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          1      On this date:                                 at this time:               ❑   a.m. ❑ p.m:
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          3      On this date:                                 at this time:               ❑ a.m. ❑ p.m.
                 Address:
                 City, State, ZIP:
                 Other information about service attempt:




       DO NOT complete           If you are a special process server, sheriff outside Illinois, or licensed private detective,
       this section. The
                                 your signature certifies that everything on the Proof of Service of Summons is true and
       sheriff or private
       process server will       correct to the best of your knowledge. You understand that making a false statement on
       complete it.              this form could be perjury.

                                 By:                                               FEES
       Under the Code of                                                           Service and Return:   $
       Civil Procedure, 735      Signature by:   ❑   Sheriff                       Miles                 $
       ILCS 5/1-109,
       making a statement                        ❑   Sheriff outside Illinois:     Total                 $ 0.00
       on this forni that you
       know to be false is
       perjury, a Class 3                            County and State
       Felony.                                   ❑   Special process server
                                                 ❑   Licensed private
                                                     detective

                                       Name


                                 If Summons is served by.licensed private detective or private detective agency:
                                 License Number:




      SU-S 1503.4                                                    Page 5 of 5                                           (05/23)
                           Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 8 of 37
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         Michele Bacus, individually and on behalf of all others similarly situated                                                CIRCUIT CLERK
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         23AndMe, Inc.                                                                                  No.


             CIVIL ACTION COVER SHEET - CASE INITIATION
         A Civil Action Cover Sheet - Case Initiation shall be filed with the
         complaint in all civil actions. The information contained herein
         is for administrative purposes only and cannot be introduced into
         evidence. Please check the box in front of the appropriate case
         rype which best characterizes your action. Only one (1) case type
         may be checked with this cover sheet.
         Jury Demand A Yes ❑ No
         PERSONAL INJURY/WRONGFUL DEATH
         CASE TYPES:
            ❑ 027 Motor Uehicle                                                       COMMERCIAL LITIGATION
             ❑ 040 Medical Malpractice
                                                                                      CASE TYPES:
             ❑ 047 Asbestos
                                                                                         ❑ 002 Breach of Contract
             13048 Dram Shop
                                                                                         ❑ 070 Professional Malpractice
             ❑ 049 Product Liability
                                                                                               (other than legal or medical)
             ❑ 051 Construction Injuries
                                                                                         ❑ 071 Fraud (other than legal or medical)
                   (including Structural Work Act, Road
                                                                                         ❑ 072 Consumer Fraud
                   Construction Injuries Act and negligence)
                                                                                         ❑ 073 Breach of Warranty
             ❑ 052 Railroad/FELA
                                                                                         ® 074 Statutory Action
             ❑ 053 Pediatric Lead Exposure
                                                                                               (Please specify below.**)
             ❑ 061 Other Personal Injury/Wrongful Death
                                                                                         ❑ 075 Other Commercial Litigation
             ❑ 063 Intentional Tort
                                                                                                  (Please specify below.**)
             ❑ 064 Miscellaneous Statutory Action
                                                                                          ❑ 076 Retaliatory Discharge
                   (Please Specify Below**)
             ❑ 065 Premises Liability
                                                                                      OTHER ACTIONS
             ❑ 078 Fen-phen/Redux Litigation
             ❑ 199 Silicone Implant                                                   CASE TYPES:
                                                                                         ❑ 062 Property Damage
         TAX & MISCELLANEOUS REMEDIES                                                    ❑ 066 Legal Malpractice
         CASE TYPES:                                                                     ❑ 077 Libel/Slander
            ❑ 007 Confessions of Judgment                                                ❑ 079 Petition for Qualified Orders
            ❑ 008 Replevin                                                               ❑ 084 Petition to Issue Subpoena
             ❑ 009 Tax                                                                   ❑ 100 Petition for Discovery
             ❑   015 Condemnation                                                     ** Genetic Information Privacy Act (GIPA), 410 III. Comp. Stat. Ann. 513
             ❑   017 Detinue
             ❑   029 Unemployment Compensation
             ❑   031 Foreign Transcript                                               Primary Email: agold@tzlegal.com
             ❑   036 Administrative Review Action
             ❑   085 Petition to Register Foreign Judgment                            Secondary Email:
             ❑   099 All Other Extraordinary Remedies
         By. Andrea R. Gold                                                           Tertiary Email:
                 (Attorney)                                   (Pro Se)

         Pro Se Only: ❑ I have read and agree to the terms of the Clerk's O ice Electronic Notice Policy and choose to opt in to electronic notice
         form the Clerk's Office for this case at this email address:

                    IRIS Y.IVIARTINEZ, CLERK OF TI-IE CIRCUIT COURT OF COOK COUNTY, ILLINOIS
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            Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 9 of 37
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0    1VIICHELE BACUS, INDIVIDUALLY AND ON BEHALF OF
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N    ALL OTHERS SIMILARLY SITUATED,
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                                                                      Case No.:2023L011549
~                Plaintiff,
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;M    23AND1VIE, INC.,

w                Defendant.
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J                                        CLASS ACTION COMPLAINT
IL


                Plaintiff Michele Bacus, individually and on behalf of all others similarly situated, alleges as

     follows against Defendant 23andMe, Inc. ("23andMe"), based upon personal knowledge as to herself

     and, as to all other matters, upon information and belief, including her counsel's investigation.

                                                 INTRODUCTION

                1.      23andMe provides a service to consumers that allows them to learn information about

     their ancestry and genetic predisposition to a variety of inedical conditions and traits through DNA

     testing.

                2.      In October 2023, 23andMe disclosed that hackers accessed profile information from

     its customers' accounts—including information on their DNA ancestry and relatives derived from

     genetic testing and other personal identifying information ("PII"). According to 23andMe, it suspects

     the attackers used a common and well-known hacking technique called "credential-stuffing"—trying

     combinations of usernames or emails and corresponding passwords that are already public from other

     data breaches to break into users' accounts on a large scale and then harvesting data from those

     accounts.
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          3.    The data exposed and stolen in this breach includes names, sex, date of birth, profile

photos, information on where customers lived, and a variety of genetic information including the

person's genetic heritage, ancestral origin, and DNA relatives.

          4.    Thus far, 23andMe has not shared additional details regarding the breach, such as the

date it occurred, how many users have been affected, the full extent of the breach, or other crucial

information that would allow its customers to remediate the breach. However, millions of records

have already been shared on internet cybercrime forums and offered for sale. The hackers have offered

specific collections of data from consumers of Ashkenazi Jewish ancestry, indicating that the attack

targeted people of certain genetic origins and that the data will be sold to those seeking to use it for

harmful purposes.

          5.    Although the breach appears to have happened months ago, 23andMe did not disclose

the breach until after the information began appearing online, and 23andMe has still not disclosed

when the breach occurred, its duration, or how many people it affects (or potentially affects). The only

thing that is clear is that a large percentage of 23andMe's 14 million subscribers are victims of the

breach.

          6.    Credential stuffing is one of the most common and well-known hacking techniques,

with such attacks comprising huge percentages of all login traffic on e-commerce websites. Thus,

23andMe had actual and/or constructive notice of the need to implement measures to protect against

this type of attack. There are multiple, widely available processes and tools available to combat

credential stuffing, and they are commonly known and widely employed in the cyberse,curity industry.

But 23andMe failed to implement adequate safeguards. Such protection is the reasonable standard of

care for a company entrusted with its customers' data—particularly companies like 23andMe entrusted

with highly sensitive data such as genetic and health information.




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      Case 3:24-cv-02288-EMC Document 5 Filed 12/15/23 Page 11 of 37




        7.      Plaintiff brings this action to remedy the violation of her right to privacy in her genetic

information and the confidentiality of her PII. 23andMe's negligent and reckless conduct has led to a

release of Plaintiff's genetic information that, in addition to being a breach of privacy, puts her at risk

of targeting by nefarious actors based on her ancestry and even potential discrimination on the

internet, in the workplace, and other places. The breach also compromises the value of her account

data. In addition, because the full scope of the breach, the number of consumers affected, the extent

of the data stolen, the specific technique used to perpetrate it, and the steps taken to remedy the breach

and prevent further future breaches are all unclear, Plaintiff has reasonably spent time and money

taking additional steps to protect herself from the potential harmful results of the breach. These harms

are the direct result of 23andMe's failure to adequately safeguard the sensitive genetic information,

PII, and other higlily sensitive and confidential information hosted on its website.

        8.      Plaintiff accordingly brings this class action lawsuit on behalf of herself and other

similarly situated consumers to remedy 23andMe's inadequate safeguarding of its customers' data, the

resulting breach that allowed this sensitive information to fall into the hands of identity thieves, and

23andMe's failure to timely and adequately disclose the breach exposing such information. Plaintiff

brings claims for violation of the Illinois Genetic Information Privacy Act (GIPA), 410 ILCS 513 et

seq.; negligence; breach of contract; unjust enrichment; and injunctive and declaratory relief.


                                               PARTIES

        9.      Plaintiff Michele Bacus is an Illinois citizen who, at all times material hereto, was a

resident of Chicago, Illinois. As discussed in more detail in Paragraphs 57-65, Plaintiff is one of

millions of consumers whose DNA Relatives profile and other confidential information was exposed

in the breach of 23andMe's information platform, which 23andMe first disclosed on October 6, 2023.

        10.     23andMe is a corporation organized under the laws of the State of Delaware.

23andMe's principal place of business is in Soutli San Francisco, California. 23andMe transacts



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business with consumers across the counti-y, including in Illinois, by, iizter alra, distributing and

receiving DNA test kits and performing paid testing services for consumers.

                                    TURISDICTION & VENUE

        11.     Jurisdiction is proper in this Court because Plaintiff is a citizen of Illinois and 23andMe

purposefully availed itself of the laws, protections, and advantages of Illinois by conducting business

in this State, including but not limited to the promotion, sale, marketing and distribution of its at-

home genetic testing kits and its interaction with residents of this State on its website; 23andMe

committed tortious acts in this State through its data security practices affecting the privacy of the

genetic information of Illinois residents; 23andMe caused injury to persons within this State; and a

substantial portion of the actions giving rise to the claims took place in this State.

        12.     Venue is proper in this Court pursuant to 735 ILCS 5/2-101 because the transactions

or some part thereof out of which this cause of action arose occurred in this county.

                                                 FACTS

        13.     Plaintiff realleges and incorporates herein all previous paragraphs of this Complaint.

                                    GENERAL ALLEGATIONS

  I.    23andMe offers a direct-to-consumer genetic testing service.

        14.     23andMe's genetic testing service uses single nucleotide polymorphism genotyping to

generate information on a customer's ancestry, ancestral origin, DNA relatives, and health traits and

predispositions. Single nucleotide polymorphisms, which are frequently called "SNPs," are differences

in DNA building blocks representing the most common genetic variation in humans. SNPs can be

used as biological markers to locate genes associated with various diseases and construct ancestral

lineages.

        15.     According to 23andMe's website, its testing method involves extracting DNA from

cells in a customer's saliva sample and then "process[ing] the DNA on a genotyping chip that reads



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hundreds of thousands of variants in your genome." This processing allows 23andMe to "generate

your personalized reports based on well-established scientific and medical research."

       16.        23andMe offers two categories of reporting based on its testing method: an ancestry

reporting service and a health reporting service. Consumers can choose which service to pay for.

       17.        On its website, 23andMe describes its ancestry service as follows:

       Our Ancestry Service helps you understand who you are, where your DNA comes
       from and your family story. We analyze, compile and distill your DNA information
       into reports on your Ancestry Composition, Ancestiy Detail Reports, Maternal &
       Paternal Haplogroups, Neanderthal Ancestry and provide a DNA Relatives tool to
       enable you to connect with relatives who share similar DNA.

       18.        23andMe's "DNA Relatives" feature is a tool that can be accessed within a customers'

23andMe account. If a customer opts into DNA Relatives, their data is automatically shared with other

customers on the platform who have opted in and who have been identified through their genetic

testing results as relatives based on shared DNA segments. The information shared through the DNA

Relatives feature includes the connected individual's name, date of birth, sex, geographic region,

photograph, ancestral origin, and DNA relatives. Specifically, 23andMe states on its website that the

following information is shared through the DNA Relatives feature:

             •   - "Your DNA Relatives display name"

             •   "How recently you logged into your account"

             •   "Your relationship labels (masculine, feminine, neutral) "

             •   "Your predicted relationship and percentage of DNA shared with your matches"

             •   "Your ancestry reports and matching DNA segments (optional)"

             •   "Your location (optional)"

             •   "Ancestor birth locations and family names (optional)"

             •   "Your profile picture (optional)"




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                   •   "Your birth year (optional)"

v
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                   • "A link to your Family Tree (optional)"
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N                  •   "Anything you have added to the `Introduce yourselfl' Section (optional)"
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             19.       23andMe describes its health service as follows:

                   Our Health + Ancestry Service provides insights on your health predispositions,
                   carrier status traits, wellness and ancestry. We analyze, compile and distill the
                   information extracted from your DNA into 150+ reports you can access online
                   and share with family and friends.

             20.       In addition, 23andMe offers a"23andMe+ Premium" program, an annual subscription

     that offers everything from 23andMe's ancestry and health services plus "exclusive reports and

     features that can help you learn more about your heart health, how you process certain medications,

     likelihood for having migraine, and more."

             21.       23andMe's services are direct-to-consumer products. Consumers buy a 23andMe test

     kit, follow the instructions to provide a saliva sample, and ship the product to 23andMe. 23andMe

     then performs the test and generates the desired reports, which are available within the person's

     account on the 23andMe's website.

             22.       According to 23andMe, the company has more than 14 million customers worldwide

     as of December 2022.

      II.    23andMe stores its customers' sensitive genetic information, information derived from
             genetic testing, PII, and other confidential and highly sensitive information.

             23.       As a condition of using 23andMe's genetic testing services, 23andMe requires that

     Plaintiff and similarly situated consumers entrust 23andMe with highly sensitive genetic information,

     information derived from genetic testing, health information, ancestral origin, and other confidential

     and sensitive PII. 23andMe then stores that information in its platform.

             24.       According to the Privacy Statement on 23andMe's website, the company collects the

     following categories of customer information:



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   •    Registration Information, including name, user ID, password, date of birth,

        billing address, shipping address, payment information, account authentication

        information, and contact information (such as email address and phone

        number).

   •    Genetic information, including "[i]nformation regarding your genotype (e.g.,

        the As, Ts, Cs, and Gs at particular locations in your DNA)" and "the

        23andMe genetic data and reports provided to you as part of our Services."

   •    Sample Information, including "[i]nformation regarding any sample, such as a

        saliva sample, that you submit for processing to be analyzed to provide you

        with Genetic Information, laboratory values or other data provided through

        our Services."

   •    Self-Reported Information, including "gender, disease conditions, health-

        related information, traits, ethnicity, family history, or anything else you want

        to provide to us within our Service(s)."

    •   User Content, including "[i]nformation, data, text, software, music, audio,

        photographs, graphics, video, messages, or other materials, other than Genetic

        Information and Self-Reported Information, generated by users of 23andMe

        Services and transmitted, whether publicly or privately, to or through

        23andMe. For example, User Content includes comments posted on our Blog

        or messages you send through our Services."

    •   Web-Behavior Information, including "[i]nformation on how you use our

        Services or about the way your devices use our Services is collected through

        log files, cookies, web beacons, and similar technologies (e.g., device




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                       information, device identifiers, IP address, browser type, location, domains,

                       page views)."

                   •   Biometric Information, including "[c]ertain Self-Reported Information you

                       provide to us or our service providers to verify your identity using biological

                       characteristics."

             25.       Customer information like that collected by 23andMe is valuable in both legitimate

     and illegitimate marketplaces.

             26.       The legitimate marketplace for PII is worth billions of dollars. Companies use
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     information like that collected by 23andMe to identify potential customers, analyze their online

     browsing, shopping, and content viewing habits, and send tailored advertisements according to their

     interests and preferences. For example, one study reported that in 2020, marketers spent $12.3 billion

     on "audience data," which includes the identity of companies' customers, email addresses, shopping

     behaviors, IP addresses, and other similar information, and they spent $4.4 billion alone on

     demographic data.'

             27.       Further, criminals place a high value on such data because of its susceptibility to

     exploitation. A thriving black market for PII exists on the dark web and other illicit internet spaces.

     Depending on the type of PII stolen, PII can be used in furtherance of many crimes, such as various

     types of identity theft, phishing attacks, or (as appears to be the case here) simply selling the

     information to malicious actors who may use it for whatever purpose they choose. Additionally,

     criminals often hold such information for many years, waiting for the right time to try to exploit it and

     thus placing consumers at risk long after the original breach.




     ' J.G. Navarro, U.S. thhdpar~ audience data spend 2020, bjl ~pe and channel, Statista (Jan. 6, 2023),
     https:/ /www.statista.com/statistics/ 818909/us-third-party-data-spend-type/.


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              28.    The information is also highly sensitive. As Senator Bill Cassidy—a physician and

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~    ranking member of the Senate Health, Education, Labor, and Pensions Committee—explained in a
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     letter to 23andMe's CEO concerning the breach, "Genetic information, unlike financial information
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~    and other types of identifying information, cannot be changed in response to data breaches. Genetic
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a    information is particularly sensitive, carrying health and personally identifying information that can be
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M    used against its owners."Z

w             29.    Moreover, even if the breach did not expose the raw data from customers' genetic
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     testing, the DNA Relatives information that 23andMe has confirmed to have been coinpromised is
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     information derived from such testing, and it carries significant risks of exploitation. This information

     can be used to target people based on their ancestry. Senator Cassidy explained that the targeted leak

     of data on Ashkenazi Jewish and Asian customers "comes at a time of increasing rates of global

     antisemitism and anti-Asian hate, which can be leveraged to draw higher prices for the information

     and increase the threat from potential evildoers."3

              30.    The information from the DNA Relatives feature can also be used to profile and

     discriminate against individuals based on their ancestry. As Senator Cassidy observed:

              Your company's own website describes the potential negative health implications of
              association with Ashkenazi Jewish ancestry, namely incidence of Gaucher disease,
              Canavan disease, Tay-Sachs disease, Crohn's disease, and breast, ovarian, and prostate
              cancer. Such information in the hands of employers, potential employers, foreign
              governments, hostile actors, and others could be used to discriminate against
              individuals associated with the group.4

              31.    Moreover, because 23andMe has released few details on the scope of the breach or

     the data involved thus far, it is unclear whether the breach was limited only to the information



     z Letter from Sen. Bill Cassidy, Ranking Member, Senate Health, Education, Labor, and Pensions
     Committee (Oct. 20, 2023),
     https://www.help.senate.gov/imo/media/doc/cassidy letter_on_23andme_data_leak.pdf.
     3 Id.

     4 ra




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contained in the DNA Relatives feature or whether Plaintiff's and other consumers' raw testing data

or other information in their accounts (such as more detailed information on their health conditions

or genetic ancestry) is secure.

        32.     23andMe knew or should have known the importance of safeguarding the PII, genetic

information, health information, and other highly sensitive and confidential information with which

its customers entrusted it. 23andMe is a large, sophisticated corporation with millions of users across

the world. But as evidenced by the breach, 23andMe failed to take reasonable precautions to secure

its users' data and failed to timely and adequately inform them of the scope, timeframe, and potential

impacts associated with the breach.

III.    Hackers compromise 23and1Vle's platform.

        33.     On October 6, 2023, 23andMe posted the following statement on its website:

        We recently learned that certain 23andMe customer profile information that they
        opted into sharing through our DNA Relatives feature, was compiled from individual
        23andMe.com accounts without the account users' authorization.

        After learning of suspicious activity, we immediately began an investigation. While we
        are continuing to investigate this matter, we believe threat actors were able to access
        certain accounts in instances where users recycled login credentials — that is, usernames
        and passwords that were used on 23andMe.com were the same as those used on other
        websites that have been previously hacked.

        We believe that the threat actor may have then, in violation of our Terms of Service,
        accessed 23andMe.com accounts without authorization and obtained information
        from certain accounts, including information about users' DNA Relatives profiles, to
        the extent a user opted into that service.

        34.     In that disclosure, 23andMe recommended that customers use original passwords and

implement multi-factor authentication, but it did not require those actions.

        35.     On October 10, 2023, 23andMe announced that it was requiring all its customers to

reset their pass`vords. Upon information and belief, 23andMe contacted some customers via email to

prompt them to change their passwords. However, 23andMe did not email or otherwise contact




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    Plaintiff to instruct her to reset her password and, upon information and belief, also did not email or

~   otherwise contact many of its other customers to instruct them to reset their passwords.
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M           36.     On October 12, 2023, 23andMe emailed its customers a similar message to the one
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2   posted on its blog to inform them of the breach. In that message, 23andMe stated it would contact

    customers whose data was accessed in the breach "separately with more information." Plaintiff does

    not know whether 23andMe sent this email to a subset of its customers earlier than October 12, 2023.

            37.     On October 23 and 24, 2023, 23andMe emailed an unknown number of customers,

    including Plaintiff, informing them that their data was stolen in the breach. This email stated:

            After further review, we have identified your DNA Relatives profile as one that was
            impacted in this incident. Specifically, there was unauthorized access to one or more
            23andMe accounts that were connected to you through DNA Relatives. As a result,
            the DNA Relatives profile information you provided in this feature was exposed to
            the threat actor. ... Based on our investigation so far, we believe only your DNA
            Relatives profile attributes were exposed.

            38.     On November 6, 2023—one month after it disclosed the breach-23andMe

    announced that it was "requiring all customers use a second step of verification to sign into their

    account."

            39.     By this time, multiple tranches of stolen customer information had been posted on the

    dark web and on internet cybercrime foruins.

            40.     Despite 23andMe's assertion in its October 6, 2023 disclosure that it "immediately

    began an investigation," at least some of the stolen data involved in the breach appears to have

    previously been posted for sale on the internet in August 2023.5 And because 23andMe has provided

    few details on the breach, it is unclear how long consumers' data has been exposed or how long ago

    23andMe detected it.



    5 Lorenzo Franceschi-Bicchierai & Zack Whittaker, Hackerr adveltised 23andMe stolen data t;vo months
    ago, TechCrunch (Oct. 10, 2023), https://techcrunch.com/2023/10/10/hackers-advertised-
    23andme-stolen-data-two-months-ago /.


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        41.      On October 2, 2023, an individual posted a sample of 1 million lines of data from

Ashkenazi Jewish individuals on the cybercrime message board BreachForurns. The title of the post

was "DNA Data of Celebrities (1 million Ashkenazi REPOST!)." Two days later, in a post titled

"23andMe — Genetic Data for Sale," a hacker with the alias "Golem" offered to sell 23andMe account

data in bulk for $1-$10 per 23andMe account. The hacker claimed that the stolen information included

"[t]ailored ethnic groupings, individualized data sets, pinpointed origin estimations, haplogroup

details, phenotype information, photographs, links to hundreds of potential relatives, and most

crucially, raw data profiles."~




        42.      On October 7, 2023, NBC News reported that a database titled "Ashkenazi DNA

Data of Celebrities" was posted on dark web forums; this database contained a list of 999,999

23andMe users, along with their first and last names, sex, and their ancestral origin; the list "appears




' Bill Toulas, Geneticsfarin 23andNle says user data stolen in credelztial stsiffiTig attack, BleepingComputer
(Oct. 6, 2023), https://www.bleepingcomputer.com/news/security/genetics-firm-23andme-says-
us er-data-s tolen-in-credential-stuffing-attack/.


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     to have been sorted to only include people with Ashkenazi heritage."' This list also contained the data

a)   for hundreds of thousands of customers of Chinese ancestry.8
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~            43.     On October 17, 2023, "Golem" published another database including the genetic data
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~    profiles of 4.1 million 23andMe users.'

             44.     Each of these tranches contained customers' names, dates of birth, sex, locations,

     photos, and both genetic and ancestry results.

             45.     In its disclosure of the breach, 23andMe suggested that its customers were to blame

     for using recycled passwords, and the company did not accept responsibility for the failure to

     safeguard its customers' data. Notwithstanding that 23andMe knew or should have known that many

     consumers use recycled passwords and thus that 23andMe should have implemented safeguards to

     protect for this, the breach impacted millions of consumers like Plaintiff whose data was exposed

     through the DNA Relatives feature on 23andMe's platform, notbecause they used recycled passwords,

     and through no fault of theirs.

     IV.     23andMe had a duty to safeguard its customers' data and provide timely and adequate
             notice when it was compromised, and it breached that duty.

             46.     23andMe had a duty of reasonable care to protect its customers' confidential genetic

     data, ancestry information, PII, and other data. To quote Senator Cassidy, "[a]s one of the largest




     ' Kevin Collier, 23andMe nser data targetingAsbkena-zi Jews leaked online, NBC News (Oct. 7, 2023),
     https: //www.nbcnews.com/news/us-news/23andme-user-data-targeting-ashkenazi-jews-leaked-
     online-rcna119324.
     8 Aaron Katersky, Connecticut attorraeygeneralpresses 23andMefor data breach an.nvers, ABC News (Oct. 31,

     2023), https://abcnews.go.com/US/connecticut-attorney-general-presses-23andine-data-breach-
     answers / s to ry?id =104510476.
     ' Lawrence Abrams, Hacker leaks nzillions of new 23andMegenetic data profiles, BleepingComputer (Oct.
     18, 2023), https://www.bleepingcomputer.com/news/security/hacker-leaks-millions-of-new-
     23andme-genetic-data-profiles / #google_vignette.


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purveyors of direct-to-consumer genetic tests, 23andMe plays a particularly important role in

protecting the identities and privacy of [its] customers."'0

          47.     There have been countless, widespread reports of data breaches involving large

corporations that do business online, including (for example) Microsoft in 2019 and 2022, Facebook

in 2020 and 2021, Estee Lauder in 2020, LinkedIn in 2021, the Red Cross in 2022, and Caesars

Entertainment in September 2023. This did or should have put 23andMe on notice that hackers would

target its platform.

          48.     Credential stuffing attacks are also common and well known, and there have been

numerous recent high-profile credential stuffing breaches. Indeed, in January 2023, a credential

stuffing attack impacted nearly 35,000 PayPal account holders. In July 2022, hackers gained access to

the personal and purchase infornlation of nearly 195,000 customers of The North Face. And in April

2022, criminals accessed thousands of General Motors customers' accounts and used their reward

points to purchase gift cards.

          49.     Indeed, credential stuffing is so common that one study estimates that credential

stuffing attempts comprise 91% of login traffic on e-commerce websites." Similarly, IT service

management company Okta reported that credential stuffing was on a"record pace" in 2022; it

observed more than 10 billion credential stuffing attempts on its platform in only the first three

months of 2022, which constituted "34% of overall traffic/authentication events" on its platform.''




10   Letter from Sen. Bill Cassidy, Ranking Member, Senate Health, Education, Labor, and Pensions
Committee (Oct. 20, 2023),
https://www.help.senate.gov/imo/media/doc/cassidyietter—on-23andme—data—leak.pdf.
" Ani Petrosyan, Sbaie ofglobal login attelJzpt.r tbat are credential.rtiiffing attacks 2018, by indirsty, Statista
(Aug. 25, 2023), https://www.statista.com/statistics/885318/login-attempts-globally-credential-
stuffing-attacks-by-industiy/.
' Z Nabeel Saeed, Top Insightr Frow Our 2022 State of Secnre Identity Beport, AuthO by Okta (Sept. 21,
2022), https://auth0.com/blog/top-insights-from-our-2022-state-of-secure-identity-report/.


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             50.     As early as 2017, the Federal Trade Commission (FTC) advised companies to take a

a)   series of specific actions to combat credential stuffing attacks, including insisting on secure passwords
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M    and implementing multi-factor authentication.13 Regarding secure passwords, the FTC explained that
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2    companies should "think through their standards, implement minimum requirements, and educate

     users about how to create stronger passwords.i14 As to multi-factor authentication, the FTC explained:

             You've required strong, unique passwords, stored them securely, and logged people
             out after a number of unsuccessful log-in attempts. But to protect against unauthorized
             access to sensitive information, that may not be enough. Consumers and employees
             often reuse usernames and passwords across different online accounts, making those
             credentials extremely valuable to remote attackers. Credentials are sold on the dark
             web and used to perpetrate credential stuffing attacks — a kind of attack in which
             hackers automatically, and on a large scale, input stolen usernames and passwords into
             popular internet sites to determine if any of them work. Some attackers time their log-
             in attempts to get around restrictions on unsuccessful log-ins. To combat credential
             stuffing attacks and other online assaults, companies should combine multiple
             authentication techniques for accounts with access to sensitive data.'S

             51.     This advice—published more than six years before the apparent credential stuffing

     attack on 23andMe's platform—could have been written specifically as a response to the 23andMe

     breach. And the FTC is far from the only source of such information. Numerous countermeasures

     are available to combat credential stuffing attacks, and information on those countermeasures abounds

     in the public domain and in the cybersecurity industry.

             52.     In addition to password-complexity requirements and multi-factor authentication,

     multiple other tools to combat credential stuffing include but are not limited to web-application

     firewalls that filter, monitor, and block malicious or suspicious traffic or login attempts on a company's

     network (such traffic can identify large-scale credential stuffing attacks); requiring users to solve a

     CAPTCHA puzzle to log in; and screening for login credentials (such as usernames and passwords)


     13 Thomas B. Pahl, Acting Director, FTC Bureau of Consumer Protection, Stick 2vit1~ Securzty: Requile
     securepa.r.ravords and autbentication, FTC Business Blog (Aug. 11, 2017), https://www.ftc.gov/business-
     guidance/blog/2017 /08 / stick-security-require-secure-passwords-and-authentication.
     14 Id
     15 Id


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known to have been compromised in prior breaches so that customers who do not know their

information was previously compromised do not mistakenly use those at-risk credentials again. This

is just a sample of the available tools."

        53.      Prior to the breach, 23andMe did not require its users to enable multi-factor

authentication, and any password complexity requirements or CAPTCHA authentication processes it

had in place before the breach (if it had any at all) were inadequate to protect its customers from the

well-recognized threat of credential stuffing attacks. And while 23andMe has exclusive knowledge

over its other data security procedures or systems, it is inferable from the exposure and posting of

millions of its customers' data on cybercrime forums that any such procedures or systems (if they

existed at all) were woefully inadequate in light of the highly sensitive and confidential information

with wluch its customers entrusted it.

        54.      Although 23andMe gave consumers the option to enable multi-factor authentication

for their accounts, it did not require this and gave its customers minimal notice of this feature prior

to the breach.

        55.      23andMe knew or should have known that it should have implemented secure

password requirements, mandatory multi-factor authentication, and/or other security measures

designed to resist credential stuffing attacks. But despite the prevalence of credential stuffing attacks

and the availability of these fundamental security precautions, 23andMe did not implement them or

inadequately impleinented them, even though its platform included some of the most sensitive and

confidential information shared by its customers.




" See, e.g., Open Worldwide Application Security Project, Credential Str~r~ng Prevention Cbeat Sheet,
OWASP Cheat Sheet Series,
https://cheatshcetscries.owasp.org/cheatshects/Credential—Stu ffing—Prcvention—Cheat—Sheet.html
(last visited Nov. 8, 2023); Enzoic, 8 Way.r to Mitigate Credential St~ffngAttacks,
https://www.enzoic.com/blog/8-ways-to-mitigate-credential-stuffing/ (last visited Nov. 8, 2023).


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                56.   Additionally, 23andMe owed a duty to its customers to implement processes that

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      would immediately detect a breach of its platform and to notify customers within a reasonable time
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M     after a breach. As demonstrated by the allegations above in Paragraphs 32-45, 23andMe did neither.
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2                                 PLAINTIFF-SPECIFIC ALLEGATIONS
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v               57.   Plaintiff created a 23andMe account because she wanted to learn more about her
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M     genetic ancestry given that her son suffers from a chronic disease. After purchasing and submitting a

w     genetic test kit to 23andMe, she purchased 23andMe's genetic and ancestry services and accessed her
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      reports on 23andMe's website. Plaintiff also opted in to 23andMe's DNA Relatives feature and was
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      connected with thousands of other 23andMe customers, with whom she could share names, sex, dates

      of birth, profile photos, information on where each other lived, and a variety of genetic information

      including the persons' ancestral origin and DNA relatives.

                58.   On October 11, 2023, Plaintiff received the email notice of data breach described

      above in Paragraph 36 informing her of the breach of 23andMe's platform.

                59.   On October 23, 2023, Plaintiff received the email described above in Paragraph 37

      informing her that her information was exposed in the breach through the malicious actor's

      exploitation of the DNA Relatives feature.

                60.   Plaintiff has suffered multiple types of harm as a result of 23andMe's failure to secure

      the information on its platform. First, Plaintiff suffered injury in the form of lost time dealing with

      the consequences of the theft of her information. This harm includes lost time spent researching the

      scope and potential impacts of the breach, time spent researching potential credit monitoring and-

      other identity theft protection solutions, time spent monitoring her accounts and internet for signs of

      threats against her based on her ancestry, and time spent seeking legal counsel to help protect her

      rights.




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             61.     Second, Plaintiff suffered injury in the form of significant risk of future harm resulting

     from the theft of her PII, genetic data, and other highly sensitive and other confidential information.

     This risk is imminent and substantial. 23andMe has already inforrned Plaintiff that her information

     was exposed in the breach, and the genetic data, PII, and other confidential information is highly

     sensitive because it both presents a risk of identity theft and fraud and includes information that could

     lead to discrimination or targeting based on Plaintiff s ancestry. Further, this data has been and is being

     offered for sale on cybercrime forums by hackers specifically touting the ability to target consumers

     based on their ethnicity.
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             62.     Third, Plaintiff suffered injury in the form of loss of value of her PII. Such information

     is highly valuable to companies and is regularly bought and sold in both legitimate and illegitimate

     marketplaces. Plaintiff enti-usted 23andMe with that information, and 23andMe was contractually

     prohibited from releasing it without Plaintiff's permission. As a result of 23andMe's failure to

     safeguard the data on its platform, Plaintiff's valuable PII was stolen without compensation.

             63.     Fourth, Plaintiff has suffered and is suffering emotional distress in the form of

     increased anxiety over the theft and exposure of her data to criminals and malicious actors who may

     seek to steal her identity and/or target her based on her ancestiy.

             64.     Fifth, Plaintiff would not have used or paid for 23&Me's services if she had known

     23&Me did not implement adequate safety mechanisms to protect her data.

             65.     Thus, Plaintiff has already suffered actual injury and is under continuing risk of

     additional future injury resulting from the exposure of her PII, genetic data, and other confidential

     and highly sensitive information.
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                                           CLASS ALLEGATIONS

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v           66.      Plaintiff realleges and incorporates herein all previous paragraphs of this Complaint.
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M           67.      This action is brought and may properly proceed as a class action pursuant to 735
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~    ILCS 5/2-801.
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It          68.      Plaintiff seeks certification of a class (the "Class") that is composed Of and defined as
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M    follOWs:

w                    All individuals in Illinois whose data was exposed to any unauthorized third
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0                    party or parties as a result of the data breach experienced by 23andMe within
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                     the applicable statute of limitations preceding the filing of this action to the
~                    date of class certification.

             69.     Excluded from the Class are 23andMe's officers and directors and current or former

     employees of 23andMe and their immediate family members, Plaintiff's counsel, and any judge, justice,

     or judicial officer presiding over this matter and the members of their immediate families and staff.

             70.     Numerosity. The Class numbers over one hundred (100) persons and is so numerous

     that joinder of all members is impracticable. On infornlation and belief, the exact number of inembers

     can be readily determined from information in the possession and control of 23andMe.

             71.     Commonality and Predominance. 23andMe has engaged in the same conduct

     regarding all members of the Class. The injuries and damages to these class members also present

     questions of law and fact that are common to each class member, and that are common to the Class

     as a whole and will drive the litigation and predominate over any questions affecting only individual

     class members. Numerous common issues of fact and law exist, including, without limitation:

                     a. Whether 23andMe took reasonable precautions to safeguard the PII, genetic data,

                         and other confidential and highly sensitive information with which Plaintiff and

                         members of the Class entrusted it;

                     b. Whether 23andMe provided timely and sufficient notice of the breach to members

                         of the Class;


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                    c. Whether 23andMe's conduct was negligent, reckless, and/or intentional;

                    d. Whether 23andMe has been unjustly enriched;

                    e. Whether Plaintiff and members of the Class were harmed by 23andMe's failure to

                        adequately secure the PII, genetic data, and other confidential and highly sensitive

                        information with which Plaintiff and members of the Class entrusted it;

                    f. Whether 23&Me should be required to pay damages to Plaintiff and members of

                        the Class; and

                    g. Whether injunctive or other equitable relief should be assessed against 23andMe.
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            72.     Adeq-uacy of RePresentation. Plaintiff is a member of the Class and will fully and

    adequately protect and represent the interests of all members of the Class because there are no

    conflicts between Plaintiff and those members of the Class, and because PlaintifPs counsel has the

    experience and skill to zealously advocate for the interests of all class members.

            73.     A~proPriateness. There are substantial benefits to proceeding as a class action here

    that make class proceedings superior to any alternatives, including that it will provide a realistic means

    for members of the Class to recover damages; the damages suffered by members of the Class may be

    relatively small; it would be substantially less burdensome on the courts and the parties than numerous

    individual proceedings; many members of the Class may be unaware that they have legal recourse for

    the conduct alleged herein; and issues common to members of the Class can be effectively managed

    in a single proceeding. Further, maintenance of this suit as a class action is the superior means of

    disposing of the common questions which predominate herein. Individualized litigation presents a

    potential for inconsistent or contradictory judgments as well as substantial risk of adjudication with

    respect to individual members of the Class which, as a practical matter, would be dispositive of the

    interests of other members not parties to the adjudication, thereby substantially impairing and




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    impeding their ability to protect these interests. Plaintiff knows of no difficulty that could be

    encountered in the management of this litigation that would preclude its maintenance as a class action.



                                                    CLAIMS

                                       FIRST CLAIM FOR RELIEF
                                 Illinois Genetic Information Privacy Act
                                    On Behalf of Plaintiff and the Class

            74.     Plaintiff realleges and incorporates herein all previous paragraphs of this Complaint.

            75.     Plaintiff brings this claim on behalf of herself and the Class.

w           76.     The Genetic Information Privacy Act (GIPA), 410 Ill. Comp. Stat. Ann. 513 et seg.,

    covers "[c]onfidentiality of genetic information" and provides in relevant part: "Except as otherwise

    provided in this Act, genetic testing and information derived from genetic testing is confidential and

    privileged and may be released only to the individual tested and to persons specifically authorized, in

    writing in accordance with Section 30, by that individual to receive the information." 410 Ill. Comp.

    Stat. Ann. 513/15(a).

            77.     GIPA incorporates the definition of "genetic information" from 45 C.F.R. 5 160.103,

    which defines the term as "information about" an individual's "genetic tests," "[t]he genetic tests of

    famIly members of the individual," "[t]he manifestation of a disease or disorder in family members of

    such individual," or "[a]ny request for, or receipt of, genetic services, or participation in clinical

    research which includes genetic services, by the individual or any family member of the individual."

            78.     GIPA also incorporates the definition of "genetic test" from 45 C.F.R. 5 160.103,

    which defines the term as "an analysis of human DNA, RNA, chromosoines, proteins, or metabolites,

    if the analysis detects genotypes, mutations, or chromosomal changes."

            79.     The test performed by 23andMe qualifies as "genetic testing" under GIPA because it

    detects, nzter alia, genotypes and mutations.




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             80.     The information compromised in the breach of 23andMe's platform included genetic

     information, genetic testing, and information derived from such information. For example, the origin

     of Plaintiff's ancestors, the list of other 23andMe users identified by 23andMe as Plaintiff's DNA

     relatives, and the information on the number of DNA segments Plaintiff shared with those other users

     were all information about, and derived from, the 23andMe genetic test Plaintiff purchased. Moreover,

     these results serve as a receipt of genetic services performed by 23andMe for Plaintiff.

             81.     23andMe negligently and recklessly released Plaintiff and class members' genetic

     information, PII, and other confidential and highly sensitive PII by failing to adequately safeguard that
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     information froin malicious actors. Considering the number of data breaches and the sensitivity of the

     information it possessed, 23andMe was aware or should have been aware of the need to implement

     robust security measures to protect such information. It consciously refused to do so.

             82.     By negligently and recklessly releasing Plaintiff's and class members' information

     (including genetic testing and information derived from genetic testing performed by 23andMe) to

     unauthorized parties, as alleged above, 23andMe violated GIPA.

             83.     Accordingly, Plaintiff and each member of the Class are entitled to, and seek, damages

     of "$2,500 or actual damages, whichever is greater," for each negligent violation, or "$15,000 or actual

     damages, whichever is greater," for each intentional or reckless violation, as well as reasonable

     attorney's fees and costs. 410 Ill. Comp. Stat. Ann. 513/40.

             84.     Plaintiff and members of the Class are also authorized to obtain injunctive relief to

     prevent future violations. Id.

                                      SECOND CLAIM FOR RELIEF
                                                 Negligence
                                      On Behalf of Plaintiff and the Class

             85.     Plaintiff realleges and incorporates herein all previous paragraphs of this Complaint.

             86.     Plaintiff brings this claim on behalf of herself and the Class.



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             87.     At all times relevant to this action, 23andMe owed Plaintiff and class members a duty

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     to act with reasonable care in securing and safeguarding their PII, genetic information (and
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(h   information derived therefrom), health information, and other confidential and highly sensitive data.
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~    23andMe assumed this obligation by conditioning its services on consumers' provision of such data
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v    and its acceptance of such data.
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M            88.     This duty required 23andME to, itrter alia, (1) protect Plaintiff's and class members'

w    data using commercially reasonable securit5, procedures and processes that are compliant with industry
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     standards and widely accepted preventative practices, (2) timely act on warnings or indications of data
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     breaches, (3) promptly take action to halt, limit, and remediate the breach, and (4) promptly notify

     Plaintiff and affected class members of the breach.

             89.     23andMe knew that the data shared by Plaintiff and class members was highly sensitive

     and valuable, and therefore subject to targeting by hackers. Moreover, credential stuffing is a common,

     well-documented, well-known, and preventable hacking technique by malicious actors, and there are

     many commercially reasonable countermeasures available to prevent this tactic. Thus, the breach was

     foreseeable.

             90.     Plaintiff and class members' willingness to entrust 23andMe with their sensitive data

     was predicated on the understanding that 23andMe would adequately secure their data and timely

     inform them of any exposure of such data. Further, only 23andMe could protect this data. Thus,

     23andMe had a special relationship with Plaintiff and class members.

             91.     23andMe breached its duty of reasonable care to Plaintiff and members of the Class

     by, inter alia, (1) failing to protect Plaintiffs and class members' data using commercially reasonable

     security procedures and processes that are compliant with industry standards and widely accepted

     preventative practices, (2) failing to timely act on warnings or indications of the data breach, (3) failing




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to promptly take action to halt, limit, and remediate the breach, and (4) failing to promptly notify

Plaintiff and affected class members of the breach.

        92.     In light of the foreseeable risks and known threats to this data, 23andMe's failure to

heed its duties to Plaintiff and members of the Class was negligent and reckless.

        93.     As a proximate and foreseeable cause of 23andMe's breach of its duty of care, Plaintiff

and members of the Class have suffered the damages alleged herein, including but not limited to the

harms alleged in Paragraphs 60-65, and remain at imminent risk of additional harm.

        94.     Even today, 23andMe has still not provided sufficient information to Plaintiff and

members of the Class on the timeframe, duration, scope, and extent of the breach. Thus, 23andMe

continues to breach its duty to timely disclose details regarding the breach to Plaintiff and members

of the Class.

        95.     Thus, as a direct and proximate cause of 23andMe's negligent release of their genetic

information (including information derived from their genetic tests), PII, and other highly sensitive

and confidential information, Plaintiff and members of the Class have suffered and will suffer harm.

        96.        Plaintiff and the members of the Class accordingly seek compensation for, ilzteralia,

the loss of the value of their PII, the costs of remediating the impacts of the breach, the resulting

emotional distress, and all other relief permitted by law.

                                 THIRD CLAIM FOR RELIEF
                                      Breach of Contract
                                On Behalf of Plaintiff and the Class

        97.     Plaintiff realleges and incorporates herein all previous paragraphs of this Complaint.

        98.     Plaintiff brings this claim on behalf of herself and the Class.

        99.     Through their course of conduct, 23andMe, Plaintiff, and members of the Class

entered into contracts for 23andMe to adequately safeguard Plaintiffs and class members' genetic




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     information (including information derived from genetic testing), PII, and other highly sensitive and

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v    confidential information in exchange for Plaintiff's paid use of 23andMe's services.
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M           100.     23andMe required Plaintiff and members of the Class to provide their data as a
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~    condition of using 23andMe's services, and 23andMe solicited and invited Plaintiff and members of
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v    the Class to do so.
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M           101.     By submitting their DNA tests to 23andMe. Plaintiff and members of the Class

w    accepted 23andMe's offer, and there was a rneeting of the minds.
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            102.     Plaintiff and meinbers of the Class fully performed their end of the bargain by
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     submitting their DNA tests to 23andMe, creating accounts, and paying for 23andMe's services.

            103.     23andMe breached its obligations by failing to adequately safeguard the data submitted

     by Plaintiff and members of the Class.

            104.     As a direct and proximate result of 23andMe's breach, Plaintiff and members of the

     Class have suffered the damages alleged herein and remain at imminent risk of additional harm.

            105.        Plaintiff and the members of the Class accordingly seek compensation for, interalia,

     the loss of the value of their PII, the costs of remediating the impacts of the breach, and the resulting

     emotional distress, and all other relief permitted by law.

                                      FOURTH CLAIM FOR RELIEF
                                            Unjust Enrichment
                                      On Behalf of Plaintiff and the Class

            106.     Plaintiff realleges and incorporates herein all previous paragraphs of this Complaint.

             107.    Plaintiff alleges this claim in the alternative.

             108.    Plaintiff brings this claim on behalf of herself and the Class.

             109.    By the conduct alleged in this action, 23andMe has obtained financial benefits by

     unduly taking advantage of Plaintiff and members of the Class.




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            110.     Despite its representations that it values of its customers' privacy, 23andMe negligently

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     and recklessly failed to safeguard Plaintiff's and class members' genetic information (including
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     information derived from genetic testing), PII, and other highly sensitive and confidential information.
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~    These representations led Plaintiff and members of the Class to reasonably believe 23andMe would
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~    adequately safeguard the data with which they entrusted 23andMe. And as a result, 23andMe profited
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M    from these representations. Plaintiff and members of the Class would not have purchased 23andME's

W    services or entrusted 23andMe with their sensitive data had they known 23andMe would not
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     adequately safeguard their information.
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             111.    Under such circumstances, it would be inequitable to allow 23andMe to retain the

     financial benefits it obtained from Plaintiff and members of the Class. Plaintiff and class members did

     not receive the full benefit of their relationship with 23andMe because 23andMe's conduct resulted in

     the compromise of their data and the harms alleged in this action.

             112.    Because 23andM'e obtained these benefits improperly and allowing it to retain these

     benefits would be inequitable under the circumstances, 23andMe is not entitled to retain any of these

     benefits

             113.    Plaintiff and members of the Class accordingly seek an order requiring restitution

     and/or disgorgement of all profits, benefits, and other compensation obtained and retained by

     23andMe by its failed promise to safeguard their data.

                                           PRAYER FOR RELIEF

     WHEREFORE Plaintiff demands judgment as follows:

             1.      For an order determining at the earliest possible time that this matter may proceed as

     a class action under 735 ILCS 5/2-801 and certifying this case as such;

             2.      For compensatory damages, statutory damages, restitution, and/or recovery of such

     relief as permitted by law in kind and amount;



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                   For an injunction ordering 23andMe to comply with GIPA going forward and disclose

~   to Plaintiff and members of the Class the extent and duration of the breach, the steps 23andMe has
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M   taken to safeguard their genetic information, PII, and other highly sensitive and confidential data and
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2   to mitigate the impacts of the breach;

            4.     For reasonable costs and attorneys' fees necessarily incurred herein pursuant to

    common law and/or statutory law;

                   For trial by jury on all issues; and

                   For such other or further relief as the Court deems Plaintiff and the putative Class are

    entitled.


    Date: November 13, 2023                              / s / Andrea Gold
                                                        Andrea Gold (Bar No. 6282969)
                                                        Hassan A. Zavareei (application for pro hac vice
                                                        admission forthcoming)
                                                        b:Zavareei@qlegal. coin
                                                        Glenn E. Chappell (application for pro hac vice
                                                        admission forthcoming)
                                                        gchappell@t,-,legal. covy
                                                        David W. Lawler (application for pro hac vice
                                                        admission forthcoming)
                                                        dlazvler@q,legal. conl
                                                        Leora N. Friedman (application for pro hac vice
                                                        admission forthcoming)
                                                        lfiiedwan@qlegal. conz
                                                        T YCKO & ZAVAREEI LI.P
                                                        2000 Pennsylvania Avenue NW
                                                        Suite 1010
                                                        Washington, D.C. 20006
                                                        Telephone: (202) 973-0900
                                                        Facsimile: (202) 973-0950


                                                          Counselfor Plaintiff Micl~ele Bacus and the proposed class




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Law Division Motion Section Initial Case Management Dates for CALENDARS (A,B,C,D,E,F,H,R,X,Z) will be heard In Person.
AII other Law Division Initial Case Management Dates will be heard via Zoom
For more information and Zoom Meeting IDs go to https.//www.cookcountycourt,org/HOME?Zoom-Links?Agg4906_SelectTab/12
Court Date: 1/16/2024 9:15 AM                                                                                  FILED
                                                                                                               11/13/2023 4:06 PM
                            IN THE CIRCUIT COURT OF THE FIRST JUDICIAL DISTRIC'IRIS Y. MARTINEZ
                                           COOK COUNTY, ILLINOIS                CIRCUIT CLERK
                                                                                                               COOK COUNTY, IL
v
~                                                                                                              2023L011549
o               MICHELE BACUS, INDIVIDUALLY AND ON BEHALF OF                                                   Calendar, N
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                                                                                Case No.: 2023L011549
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C.                                                                                JURY TRIAL DEMANDED
M               23AND1VIE, INC.,

                        Defendant.



                              AFFIDAVIT PURSUANT TO SUPREME COURT RULE 222(b)

                       The undersigned, one of the attorneys for the Plaintiff herein, being first duly sworn upon

               oath, states that to the best of his knowledge, infornlation and belief formed after a reasonable

               inquiry, to the extent such inquiry is possible based upon current facts and circumstances, that

               the total money damages sought herein exceed Fifty Thousand Dollars ($50,000.0.0).




               Date: November 13, 2023                              /.r/ Andrea Gold
                                                                    Andrea Gold (Bar No. 6282969)
                                                                    TYCKO & ZAVAItEEI LLP
                                                                    2000 Pennsylvania Avenue NW
                                                                    Suite 1010
                                                                    Washington, D.C. 20006
                                                                    Telephone: (202) 973-0900
                                                                    Facsimile: (202) 973-0950


                                                                     Coun.relfor PlaintiffMicl~ele Bacus and the proposed class
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 15, 2023, I caused a copy of the foregoing
DECLARATION OF KEVIN J. QUILTY to be served upon counsel in the manner described
below:

VIA OVERNIGHT DELIVERY AND ELECTRONIC DELIVERY (EMAIL):

       Andrea Gold (agold@tzlegal.com)
       Hassan A. Zavareei (hzavareei@tzlegal.com)
       Glenn E. Chappell (gchappekk@tzlegal.com)
       David W. Lawler (dlawler@tzlegal.com)
       Leora N. Friedman (lfriedman@tzlegal.com)
       Tycko & Zavareei LLP
       2000 Pennsylvania Avenue NW
       Suite 100
       Washington, D.C.
       (202) 973-0900
       Counsel for Plaintiff
         Service was made by electronic delivery (email) on December 15, 2023. The
email address I used for delivery was the same as listed by counsel for Plaintiff
in that case.
       Service was also made by overnight delivery on December 15, 2023. The address
used for Bacus’ counsel is the same address set forth in the Complaint.
        I declare under the penalty of perjury of the laws of the United States of America and the
State of Illinois that this Certificate of Service is correct, and executed on December 15, 2023.

                                     /s/ Kevin J. Quilty
                                         Kevin J. Quilty
                                     Attorney for Defendant
